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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
www.fisb.uscourts.qov

In re: Case No. 12-27750 AJC
Chapter 13
Howard Cortez

Debtor /

DEBTOR’S MOTION FOR CONTEMPT
SECOND CORRECTED
Paragraphs changed to better explain egregious violations of stay

Debtor, Howard Cortez moves pursuant to 11 U.S.C. §§105; 362(a)(3); 523 (a)
(16; 525(a)(b);1327(a) for damages against Community Management Consultant’s
Group, Inc. (“CMCG”) and Vista Trace Multicondominium Association, Inc.
(“Condominium Association”) and would show your Honor,

FACTUAL BACKGROUND

1. Debtor filed his Petition on 7/24/12. Thereupon all past due Condominium

Association debits were no longer payable or collectable by the Condominium

Association. 11 U.S.C. § 523 (a)(16).
2. CMCG is the management company, agent for the Condominium Association.
3. Subsequent to debtor filing his Petition, on October 2, 2012 the Condominium

Association sued debtor for maintenance owed prior to July 24, 2012. Debtor

moved for sanctions against the Condominium Association's attorneys for

violation of the automatic stay. (Court Doc 29). Order Granting Debtor’s Motion

for Sanctions against the Condominium Association lawyers was entered on

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November 27, 2012. (Court Doc 57). Apparently the small amount of money
debtor's attorney requested and that was ordered to be paid was too
inconsequential to make CMCG and the Condominium Association realize the
severity of violating the stay relief order.
Debtor's Second Amended Plan was confirmed on February 13, 2013. (Court
Doc 88)
CMCG has continually been the management company for the Condominium
Association. Debtor initially was making his monthly maintenance payment
commencing August 2012 outside of his chapter 13 directly to CMCG for his
condominium at Vista Chase. In May 2014 the Condominium Association and
CMCG sent debtor a statement, (copy attached) alleging arrears owed of
$17,854.79. Debtor required a Motion to Value to again obtain the benefit of stay
relief and make it 100% clear to CMCG and the Condominium Association that
debtor was not in arrears in condominium maintenance fees.
On February 26, 2014 debtor filed Motion to Value and Determine Secured
Status of Lien of Condominium Association. “Motion to Value” (Court Doc 97).
Motion to Value was filed and served on CMCG in February 2014. The
Condominium Association retained their attorney, Alberto M. Cadet, Esq. for
representation on the Motion to Value. There can be no dispute the
Condominium Association and its agent, CMCG at all times pertinent knew
debtor was in this Chapter 13 and the automatic stay was in full force and effect.

Order Granting Debtor's Motion to Value Collateral Vista Trace

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Multicondominium Association (“Value Order”) (Doc 102) was entered on April
29, 2014. The Value Order in part provides the Condominium Association has
an allowed secured claim in the amount of 0.
Debtor filed his First Modified Chapter 13 Plan on January 1, 2015 (Doc 107).
The First Modified Plan changed debtor’s monthly payment so that he no longer
paid CMCG directly outside of his chapter 13 plan, debtor's plan payments then
were made to the Chapter 13 trustee. The trustee required a Second Modified
Plan, it was filed on February 9, 2019. The Order Granting Motion to Modify Plan
and approve Second Modified Plan was entered on April 1, 2015. Paragraph 5 of
Order Granting Motion to Modify Plan and approve Second Modified Plan
provides:
If the Plan does not provide for payments to a secured creditor,
such creditor is granted in rem stay relief to pursue available
state court remedies against any property of the debtor which
secures the creditor's claim.
EGREGIOUS VIOLATIONS OF STAY RELIEF AND CONFIRMED PLAN
FIRST
CMCG and the Condominium Association retained their agent Scott Alan Orth,
Esq to file a lawsuit to have debtor’s tenant removed from debtor's
condominium. The lawsuit filed in the early days of December 2016 sued debtor,
his tenant and unknown persons in possession. Filed in Florida State Court 11%
Judicial Circuit Case No: 16-31284 CA 01 tilted Vista Trace MultiCondominium

Association v. Howard Cortez, John Doe. No motion for stay relief had been

filed. No order for stay relief had been entered. The eviction was an act to

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exercise control over property of the estate.
Mr. Orth alleges he was told the behavior of debtor's tenant and the
unauthorized occupants were serious violations of state criminal law. There is a
credibility problem as if the alleged atrocious illegal actions had occurred those
actions would have been stopped by the police and persons would have been
arrested. Further, why did the Condominium Association and CMCG fail to
reach out to communicate directly with debtor of the alleged illegal activities of
debtor's tenants. There was no justification in hiring an attorney who failed to
move for Stay Relief.
Regardless of the occupants’ behavior in debtor's condominium CMCG and the
Condominium Association’s agent, Scott Alan Orth failed to obtain stay relief.
There is no excuse or justification for the condominium association through its
agents CMCG and Scott Alan Orth to have failed to file an Emergency Motion
for Stay Relief. Without obtaining stay relief the Condominium Association and
CMCG willfully violated the bankruptcy stay and debtor’s confirmed plan.
Debtor is obligated to pay his attorney's fees.
WHERERORE it is respectfully requested that the condominium association and
CMCG be jointly and severally ordered to pay debtor the following damages:
a. Compensatory damages for emotional stress in excess of $3,000.00
for failing to communicate with debtor regarding his tenant and willful
violation of the automatic stay.

b. Punitive damages of $12,000.00

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c. Attorney’s fees and costs of suit
SECOND
13. On May 19, 2017 Mr. Scott Alan Orth moved in the State Court eviction action
for an award of attorney's fees in the sum of $5,000.00. Subsequently being fully
and totally aware of the stay violation the Condominium Association's agent,
attorney Mr. Orth has failed to stop demanding payment for attorney’s fees from
the State Court eviction. The Condominium Association and CMCG are
responsible for paying their attorney and it is reprehensible after violating the
automatic stay that their attorney agent continues to claim attorney’s fees for
filing an eviction action in state court without obtaining stay relief from your
Honor. .
WHERERORE it is respectfully requested that the condominium association and
CMCG be jointly and severally ordered to pay debtor the following damages:
d. Order that debtor has no financial obligation for attorney’s fees
alleged to be due and payable to Mr. Orth.
e. The Condominium Association's attorney moved for $5,000.00 in
attorney's fees justice would be damages for debtor in the sum of $5,000.00

as compensatory damages.

f. Punitive damages in excess of $12,000.00.
g.. Reasonable attorney’s fees be awarded to debtor’s attorney.
THIRD

14. Debtor's condominium had no tenant in March 2017 and debtor was in the

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process of locating a tenant to rent the condominium.
Debtor contacted CMCG to clarify and obtain the application for tenant approval.
CMCG informed debtor he could not rent his apartment until debtor paid a past
due balance of condominium maintenance that exceeded Twenty thousand
dollars ($20,000.00). CMCG failed to put the arrears owed prior to his Petition
on July 12, 2012 into a suspense account that clarified not payable while in
chapter 13 and charge off Howard Cortez the unpaid maintenance upon receipt
of his bankruptcy discharge.
Demanding payment for monies not legally due or payable in total violation of
the Valuation Order and 11 U.S.C. 523 (a)(16) is a willful wanton stay violation.
Debtor suffered mental stress, CMCG was willfully violating bankruptcy law,
claiming monies owed that had been by Valuation Order not payable by debtor.
WHERERORE it is respectfully requested that the condominium and CMCG be
jointly and severally ordered to pay debtor the following damages:

h. Compensatory damages in excess of $2,500.00 for lost rents and

emotional stress.

i. Punitive damages of no less than $12,000.00.

j. Reasonable attorney's fees be awarded to debtor's attorney.

FOURTH

Debtor verily believes and all presumptions are that Condominium Association
and CMCG continue to harass debtor because he lien stripped condominium

fees in this bankruptcy. Debtor is being discriminated against because he is a

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debtor in this Chapter 13. The Condominium Association is equivalent to a
government. Debtor is like an employee receiving rental income but controlled
by the Condominium Association and CMCG, violations of 11 U.S.C. §525
(a)(b).
Debtor in March 2017 was in his condominium making repairs as the tenant
damaged his condominium. Mr. Cortez had parked his vehicle in the parking
space assigned to his condominium unit. The security guard(s) all knew debtor
and his assigned parking space. The Condominium Association and CMCG had
debtor’s vehicle towed. This cost debtor in excess of $300.00.
The debtor was being discriminated against because his prospective tenants
were being rejected for low credit scores. It is a clear violation of a condominium
owner's property rights to restrict renting based on prospective tenant's credit
score. The tenant is not the payor of condominium fees. This outrage was
corrected after the original motion was filed. That has been the only correction to
the willful abusive stay violations.
Debtor was forced to retain his attorney for the outrageous misconduct of the
condominium and CMCG. These parties should be jointly and severally
obligated to pay debtors attorney's fees.
WHERERORE it is respectfully requested that the condominium and CMCG be
jointly and severally ordered to pay debtor the following damages:
k. Damages in excess of $300.00 for towing debtor's vehicle and the

other damages incurred as a result of the tow.

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|. Damages in excess of $5,000.00 neither the Condominium Association or
or CMCG made any attempt to directly (without an attorney) communicate to
debtor regarding tenant or unauthorized occupants alleged disruptive
conduct. Instead hiring an attorney to willfully violate debtors confirmed plan
and the stay order.
m. Punitive damages of no less than $12,000.00.
n. Reasonable attorney's fees be awarded to debtor’s attorney and
paid by Condominium Association and CMCG jointly and severally.
“LS”

Lawrence Shoot

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Vista Trace Multi Condiminium Assn. STATEMENT DATE: 05/07/14

( ) =

HOWARD CORTEZ CUSTOMER NO.: XX-XXXXXXX

P.O.BOX 133373

Hialeah FL 33013

DATE DESCRIPTION FEE PAYMENT BALANCE

09/01/13 BEGINNING BALANCE 17,212.04 17,212.04
10/01/13 MAINTENANCE FEE 267.75 17,479.79
10/18/13 PAYMENT REF: 6552 267.75 00
10/18/13 PAYMENT REF: 6547 267.75 16,944.29
11/01/13 MAINTENANCE FEE 267.75 17,212.04
11/08/13 PAYMENT REF: 7240 267.75 16,944.29
12/01/13 MAINTENANCE FEE 267.75 17,212.04
12/06/13 PAYMENT REF: 7244 267.75 16,944.29
12/10/13 ALARM & BATTERY 150.00 17,094.29
01/01/14 MAINTENANCE FEE 267.75 17,362.04
01/09/14 PAYMENT REF: 7248 267.75 17,094.29
01/22/14 BATTERY & ALARM 150.00 17,244.29
02/01/14 MAINTENANCE FEE 267.75 17,512.04
02/07/14 PAYMENT REF: 7251 267.75 17,244.29
02/11/14 FINANCE CHARGE 25.00 17,269.29
03/01/14 MAINTENANCE FEE 267.75 17,537.04
03/11/14 FINANCE CHARGE 25.00 17,562.04
04/01/14 MAINTENANCE FEE 267.75 17,829.79
04/10/14 PAYMENT REF: 7303 267.75 17,562.04
04/11/14 FINANCE CHARGE 25.00 17,587.04
05/01/14 MAINTENANCE FEE 267.75 17,854.79

TOTAL: 17,854.79
